         Case 1:19-mj-00499-MSN Document 1 Filed 11/22/19 Page 1 of 1 PageID# 1


AO 91 (Rev. 11/11) Criminal Complaint

                                                                                                                                          ;r—i
                                        United States District Cour;                                    r—-    fl       l   IH        i   ;: I
                                                                for the                                                          li       i !j

                                                    Eastern District of Virginia                              NOV 2 12019           M
                  United States of America                         )                               CLAI<CV^rSSTRiCT'^oiRT
                             v.                                    )                               ---- ALfLXAN'DR.'A. VIRHIMIA
                                                                   )      Case No.
           ANIKKHAN YUSUFKHAN PATHAN
                                                                   )                 1:19-mj-499
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of        April 2017 to September 13, 2017        in the county of                  Fairfax              in the
        Eastern        District of            Virginia         , the defendant(s) violated:

             Code Section                                                    Offense Description
18 U.S.C.§ 1343                                Wire Fraud




          This criminal complaint is based on these facts:
(See attached affidavit.)




          n Continued on the attached sheet.



                                                                                              Complainant's signature
 SAUSA Rachael Tucker (LT)
                                                                                   Warren Buckley, Special Agent, DFIS
                                                                                               Printed name and title

Sworn to before me and signed in my presence.
                                                                                                      /S/
                                                                                Michael S. Nachmanoff
Date:     IW 22-, 2v(rl                                                         United States Magistrate Judge
                                                                                                Judge '.v signature

City and state:                         Alexandria, VA                     Hon. Michael S. Nachmanoff, U.S. Magistrate Judge
                                                                                              Printed name and title
